, ·AO 199A (Rev. 01/04/2018) Order Setting Conditions of Release (Modified)                                                         Page I of2
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                                         UNITED STATES DISTRICT COURT
                                                                         for the
                                                              Southern District of California

                        United States of America                              )
                                   v.                                         )
                                                                              )                 Case No.
                                                                              )
                                                                              )
                                    Defendant
                                                      PRETRIAL RELEASE ORDER
 IT IS ORDERED that the defendant's release is subject to these conditions:                                       JAN 2 5 2018
                                                                  Mandatory Conditions
                                                                                                           CLERK, U S D!S ., '1-~T COURT
 (!)     The defendant must not violate federal, state, or local law during the perio a~pJ~§~.DISTR1c1 Of CALIFORNIA
 (2)     The defendant must cooperate in the collection of a DNA sample as authonz               . .G.-f-l.4135l[PUTY
                                                                    Standard Conditions
                                              (Each Standard Condition applies, unless stricken.)
 (3)     The defendant must appear in court as ordered and surrender as directed to serve any sentence.
 (4)     The defendant must not possess a firearm, destructive device, or other dangerous weapon.
 ( 5)    The defendant must not use or possess a narcotic drug or other controlled substance without a lawful medical
         prescription. The defendant must not use or possess marijuana under any circumstances.
 (6)     The defendant must report to the U.S. Pretrial Services Office (telephone (619) 557-5738) on the day of the
         initial court appearance or within 24 hours of the defendant's release from custody, whichever is later.
         Throughout this case, the defendant must report as directed by the Pretrial Services Office and follow all
         directions of the Pretrial Services Office.
 (7)     The defendant must advise the Court or the Pretrial Services Office in writing of: (1) the defendant's current
         residence address and phone number, when first reporting to Pretrial Services; and (2) any new contact
         infonnation, before making any change of residence or phone number.
 (8)     The defendant must read this Pretrial Release Order and the "Advice of Penalties and Sanctions" fonn, or
         have them read to the defendant in the defendant's native language. The defendant must acknowledge the
         defendant's understanding of all the pretrial release conditions and the penalties and sanctions for any
         violations, by signing the "Advice of Penalties and Sanctions" form.
 (9)     Restrict travel to: igJ San Diego County ~Imperial County D State of California
                             [JZI CDCA (L.A., Orange, Riverside, Sflft Bem!ll'aiae, l!J.l5.Q., ~affia Barbara, Venturaj
                             lgJ Do not enter Mexico D Other Travel Restriction:                      ~~~~~~~~~~~




                                                                  Additional Conditions
 (10) D)a) The defendant is released on personal recognizance.
      [if (b) The defendant must execute an appearance bond in the amount of$ Z.2, ll 4' IJ • "t>                 that is:
              D
              ifu'secured.
              ffi
              Secured, as set forth below. The Court finds that an unsecured bond will not reasonably assure the

              Security: 0 ;ffie co-signatures of (
                        IBA cash deposit with the ourt of$
                                                                     'l-l
              defendant's jiL'f)pearance as required and/or will endanger the safety of another person or the community.
                                                          financially responsible (and related) adults o>(
                                                                                     lfl'"Ujd              .
                                                                                                                            .

                        D A trust deed to the United States on real property approved by a federal judge.
                        D A cash bond and/or a bail bond by an approved, solvent corporate surety. A corporate bail
                           ,bond must cover all conditions of release, not just aP,nearances.
                        rn' Other:              /I!     f                         ~
              Hearing: D Surety examination             Nebbia hearing (ba' source hearing)
 (11) D 18 U.S.C. § 3142(d) hold until                      ; if no detainer is lodged by then, these conditions take effect.
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     (12) T~hy{leendant must:
J
              mr u  actively seek or cl)l1finue full-time employment, or schooling, or a combination of both.
                    reside with      (~) yamily member, surety, or                                               ,Ji('
              Z                      (~at a residence approved by the Pretrial Services Office.
                ( ) surrender any valid passport to the Pretrial Services Office and not obtain a passport or other
                    international travel document.
              0 (d) clear all warrants/FTAs and pay all fines within 90 days of release or as directed by the Pretrial
                    Services Office.
              0 (e) submit to psychological/psychiatric treatment at Pretrial Services' discretion.
              0 (f) submit to testing for drugs/alcohol if required by the Pretrial Services Office, no more
                    than_ times per month. Testing may include urine testing, the wearing of a sweat patch, a
                    remote alcohol testing system, and/or any form of prohibited substance screening or testing. Pretrial
                    Services need not notify the Court of test results attributed to residual elimination.
              0 (g) not use alcohol at all.
              0 (h) not have a blood alcohol content (BAC) of .08% or more.
              0 (i) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
                    directed by the Pretrial Services Office or supervising officer.
              OG)   avoid  all contact, directly or indirectly, with any person who is or may be a victim or witness in the

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                    investigation or prosecution, including: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    participate in the Location Monitoring Program and comply with its requirements as directed under
                    the following component and technology:
                     0 (i) Curfew. You are restricted to your residence (0) every day from                     to _ _ _,
                     - /       or (0) as directed by the pretrial services office or supervising officer.
                     iY'(ii) Home Detention. You are restricted to your residence at all times except for Pretrial
                               Services-approved absences for: employment; education; religious services; medical,
                               substance abuse, or mental health treatment; attorney visits; court appearances; Court-
                               ordered obligations; or other activities.
                     O (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence
                               except for Co -approved absences for medical necessities, court appearances, or other
                               activities.
                             hnology:      Global Positioning System (GPS) 0 Radio Frequency 0 Voice Recognition
                              must pay all or part of the cost of the program based on your ability to pay as determined
                            the pretrial services officer.
                             ense counsel must notify Pretrial Services upon submission of bond paperwork; defendant to
                        be released from custody to Pretrial Services the following business day by 10:00 a.m. and
                        Pretrial Services to transport if needed.
              0 (1) return to custody each                 at            AM/PM after being released at             AM/PM
                    for employment, schooling, or the following purposes: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              O(m)  maintain   residence at a halfway house, community corrections center, or residential facility, as the
                    Pretrial Services Office or supervising officer considers necessary.
              0 (n) remain in the custody of                                           who will supervise the defendant and
                    notify the Court immediately if the defendant violates any conditions of release.
              0 (o) Adam Walsh Act: See attached Addendum for additional conditions.
              0 (p) Other c o n d i t i o n s : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

     (13)     0    All conditions previously set will remain the same.



                           Date:
                                    -'f-,J!,v(/i    tL
                                          "'""'-"'-f"'-+-'w.L.----
                                                                                    U.S. Magistrate Judge
